Case 3:19-cv-00322-DPM Document 27 Filed 11/08/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
NORTHERN DIVISION

MARTIN J. WALSH,
Secretary of Labor, United States
Department of Labor PETITIONER

v. No. 3:19-cv-322-DPM

NU-WAY PRODUCTS COMPANY, INC.,
d/b/a/ Nu-Way Pool & Spa RESPONDENT

JUDGMENT

The Secretary's petition is dismissed without prejudice.

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D.P. Marshall Jr.
United States District Judge

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